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                         UNITED STATES DISTRICT COURT

                         MIDDLE DISTRICT OF LOUISIANA

BOBBY SNEED
                                                         CIVIL ACTION
VERSUS
                                                         NO. 21-279-JWD-RLB
FRANCIS ABBOTT and the LOUISIANA
COMMITTEE ON PAROLE

       This matter came on this day for a status conference by zoom video conferencing

before District Judge John W. deGravelles on May 26, 2021, with the following parties:

                            Thomas Frampton
                            Counsel for Plaintiff

                            Grant Willis
                            Counsel for Defendants


       Although Mr. Willis waived service on Francis Abbott, Mr. Frampton advised

the Court that the complaint has not yet been served on the Louisiana Committee on

Parole because the Motion to Proceed in forma pauperis (Doc. 3) has not yet been

addressed by the Magistrate Judge. The Court will contact the Magistrate Judge to

follow up on the pending motion.

       The amount of time needed for discovery cannot be determined at this time

because the parties have not yet held a Rule 26 FRCP discovery planning conference

       The parties are hopeful that this matter might be able to be resolved as soon as

possible. The parties were encouraged to consider settlement and the Court mentioned

that the Magistrate Judge would be available for this purpose.

       A follow-up status conference is set for 11:00 a.m. on June 3, 2021, by zoom

video conference.
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       The parties are to file a status report on the following matters by noon on June

2, 2021:

   1. Conduct a Rule 26 FRCP conference.
   2. Attempt to have the issue of service resolved.
   3. Schedule a date with Magistrate Judge Bourgeois to try to attempt to resolve
      this matter.
   4. Discuss the amount of time needed for Discovery and set forth a time frame for
      the Court to conduct a hearing on the Motion for Preliminary Injunction.

       If either side needs the Court before the June 3, 2021, status conference, the

Court will be available.

       Signed in Baton Rouge, Louisiana, on May 27, 2021.

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       CV 36; T: 0:15
                                      JUDGE JOHN W. deGRAVELLES
                                      UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF LOUISIANA
